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                      Exhibit A
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WHY DID THE SS UNITED STATES CONSERVANCY PARTNER WITH
FLORIDA’S OKALOOSA COUNTY TO CONVERT AMERICA’S FLAGSHIP
INTO THE WORLD’S LARGEST ARTIFICIAL REEF?

The legal conflict with the operators of Pier 82 in Philadelphia drastically
impacted the Conservancy’s plans for the ship’s long-term future. Because of the
court proceeding, we had a very limited time to find a new home for the SS United
States. Despite intensive outreach to private pier owners, government agencies,
elected officials, and public authorities at the local, state and federal levels—an
effort that began well before Penn Warehousing sued the Conservancy in early
2022—no suitable and available location was secured within the mandated
schedule. While we had vetted various entities with proposals to purchase and
relocate the ship, none satisfied our minimum due diligence or proved viable
within the compressed timetable and logistical constraints.

Unable to save the SS United States in her current state and under a court-ordered
deadline, we faced the painful but unavoidable choice between scrapping
America’s Flagship or converting her into an artificial reef in tandem with a
land-based museum. We chose the latter as the more dignified path. As part of the
settlement that resulted from court-ordered mediation, the SS United States
Conservancy agreed to the sale of America’s Flagship to Okaloosa County,
Florida, which in turn facilitated her removal from the pier to comply with the
Court’s order. While this is not the outcome we originally envisioned, the ship will
have a future. This next chapter of the SS United States’ story will bring tens of
thousands of people annually from around the world to experience her as an
artificial reef and celebrated and commemorated in a land-based museum.

https://www.ssusc.org/frequently-asked-questions, last visited June 11, 2025
